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A0 245B (Rev 06/05) Sheet 1 - Judgment ma Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DMSION



UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                                               CASENUMBER. 8:07-cr-137-T-30MSS
                                                               USM NUMBER: 40409-018



RAMON RAMIREZ-APONTE
                                                                Defendant's Attorney: Daniel L. Castillo, cja.

THE DEFENDANT:

-
X pleaded guilty to count(s) TWO of the Indictment.
-pleaded nolo contendere to count(s) which was accepted by the court.
-was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED

                                    Attempted Possession With Intent to           April 4,2007                        Two
                                    Distribute Five Kilograms or More of
                                    Cocaine


       The defendant is sentgxed as provided inpages2 through6 of thisjudgment. The sentence 1s imposedpursuant to the Sentencing
Reform Act of 1984.

  The defendant has been found not guilty on count(s)
-
X Count(s) ONE of the Indictment is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must no* the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Date of Imposition of Sentence: OCTOBER 24,2007




                                                                                  DATE
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A 0 245B (Rev 06/05) Sheet 2 - [mprisonment (Judgment in a Criminal Case)
Defendant:          RAMON RAMIREZ-APONTE                                                                     Judgment - Page 2of 6
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                                                              IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $5
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of ONE HUNDRED and TWENTY (120) MONTHS as to Count Two of the Indictment.




-
X The court makes the following recommendations to the Bureau of Prisons: The Court recommends confinement at a
correctional institution located in Florida. The Court advises the Bureau of Prisons of the Defendant's medical conditions
of Cirrosis and Hepatitis C and requests that the Defendant be given whatever medical treatment the Bureau of Prisons deems
appropriate. The Defendant shall participate in the 500 hour intensive drug treatment program while incarcerated.



X The defendant is remanded to the custody of the United States Marshal.
-
- The defendant shall surrcndcr to the United States Marshal for this district.
          -at - a.m./p.m. on -.
             as notified by the United States Marshal.

-The defendant shall surrender for scrvicc of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          -as notified by the Probation or Pretrial Services Office.



                                                                       RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                             to
- at                                                                   , with a certified copy of this judgment.



                                                                                  United States Marshal

                                                                       By:
                                                                                          Deputy United States Marshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:          RAMON RAMIREZ-APONTE                                                                         Judgment - Page 3of 6
Case No.:           8:07-cr-137-T-30MSS
                                                          SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of FIF7E(5) YEARS as to Count
Two of the Indictment.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state, or local crime. The defendant shall not unlawfdly possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 1 5 days
of release Gom imprisonment and at least two periodic drug tests thereafter, as determined by the court.


-
X        The defendant shall not possess a frrearm, destructive device, or any other dangerous weapon.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.



           If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
           Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant sha.11not leave the judicial district without the permission of the court or probation officer;

          the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
          month;

           the defendant shall answer truthfully all inquiries by the probation offker and follow the instructions of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;

          the defendant shall work regularly at a lawful occupation, unless excused by the probation ofiicer for schooling, training, or other
          acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

          the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered;

          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation ofticer;

          the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;

          the defendant shall notify the probation ofticer within seventy-two hours of being arrested or questioned by a law enforcement officer;

          the defendant shall not enter into any agreement to acl as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

          as dircctcd by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or charactcristics and shall p m i t the probation ofticer to make such notifications and to confirm the defendant's
          compliance with such notification requirement.
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A 0 245B (Rev. 06/05) Shcct 3C - Supervised Release (Judgment in a Criminal Case)

Defendant :        RAMON RAMIREZ-APONTE                                                               Judgnent - Page    4 o f 6
Case No.:          8:07-cr-137-T-30MSS

                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

-
X        The defendant shall participate in a substance abuse program (outpatient and/or inpatient) and follow te probation officer's
         instructions regarding the implenientation of this court directive. Further, the defendant shall be required to contribute to the
         costs of services for such treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for
         Substance Abuse Treatment Services. During and upon completion of this program, the defendant is direcled to submit to
         random drug testing.

-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.


-
X        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court orders random drug
         testing not to exceed 104 tests per year.
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 A 0 245B (Rev 06/05) Shcct 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:          RAMON RAMIREZ-APONTE                                                               Judgment - Page 5 of 6
Case No.:           8:07-cr- 137-T-30MSS

                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                           -
                                                                  Fine                       Total Restitution

          Totals:            $100.00                               Waived                    N/A


-         The determination of restitution is deferred until        .       An Amemlod JucZgmetit in u Criniiml Case ( A 0 245C) will
          be entered after such determination.

-         The defendant must make restitution (including community restitution) lo the following payees in the amount listed
          below.
          If the defendant makes a partial. payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the prion ty order or percentage pa ent column below. However, pursuant to 18 U.S.C. §
          3664(i). all non-federal victims must be p a ~ dbefore the G t e d States.


Name of Pavee                                   Total Loss*                 Restitution Ordered




                             Totals:            L                           L

-         Restitution amount ordered pursuant to plea agreement $
-         The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in h l l
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. (j 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 3 3612(g).

 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         -          the interest requirement is waived for the - fine     - restitution.

         -          the interest requirement for the - fine     - restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 1OA, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994. but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:         RAMO~~AMIREZ-AENTE
Case No.:          8:07-cr-137-T-30MSS



                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

         -
         X         Lump sum payment of $ 100.00 due immediately, balance due
                             -not later than                 , or
                             -in accordance -C, - D, - E or - F below; or
         -         Payment to begin immediately (may be combined with -C, -D, or -F below): or
C.       -        Payment in equal          (e-g.. weekly, monthly. quarterly) installments of $          over a period
                  of -(e.g., months or years), to commence             days (e.g., 30 or 60 days) after the date of this
                  judgment: or
D.       -         Payment in equal              (e.g., weekly. monthly, quarterly) installments of $           over a period of
                               , (e.g.. months or years) to commence                     (e.g. 30 or 60 days) after release from
                   imprisonment to a term of supervision: or
E.       -         Payment during the term of supervised release will commence within                  (e-g., 30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this judgment imposes imprisonment. payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those ayments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk o f t e court.   R
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal. (3) restitution interest, (4) fine principal. (5)
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
